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                                                                                 Hon. James L. Robart
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 7                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 8                                         TACOMA DIVISION

 9
        AL-HARETH AL-BUSTANI, an individual,                   Case No. 3:22-cv-05238JLR
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11                                   Plaintiff,
               V.
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        SEAN B. ALGER, et al.,
13                                                             ORDER EXTENDING TIME
                                     Defendants.               TO RESPOND TO
14                                                             COMPLAINT

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16                                                             NOTE ON MOTIONS
                                                               CALENDAR: October 4, 2022
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22             This matter came before the Court on Defendants Kristie Williams, Dean Reiner, and
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        Invoke, LLC Unopposed Motion for Extension of Time to Enter Appearance. The Court having
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       reviewed the Motion and the relevant record,
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       Ill
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     CERTIFICATE OF SERVICE                            -1-
     Case No. - 3:17-cv-05150 RBL
                  Case 3:22-cv-05238-JLR Document 48 Filed 10/07/22 Page 2 of 2




 1              IT IS HEREBY ORDERED that the Motion is granted. Defendants Kristie Williams, Dean

 2      Reiner and Invoke, LLC may file their response to the Amended Complaint by October 21, 2022.
                             ~
 3             Dated this _J___ day of October, 2022.

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 8                                         UNITED 7 ATES DISTRICT JUDGE

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     CERTIFICATE OF SERVICE                             -2-
     Case No. - 3:17-cv-05150 RBL
